                 Case 2:20-cv-00809-BJR Document 35 Filed 11/04/20 Page 1 of 2




 1                                                                    Honorable Barbara J. Rothstein

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 7
                              UNITED STATES DISTRICT COURT
 8                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9   KARA MCCULLOCH DMD MSD PLLC,
     individually and on behalf of all others similarly
10                                                        No. 2:20-cv-00809-BJR
     situated,
11
                                           Plaintiff,
12                                                        NOTICE OF FILING OF PLAINTIFFS’
            v.                                            STATEMENT IN RESPONSE TO FIRST
13                                                        SCHEDULING ORDER
     VALLEY FORGE INSURANCE COMPANY,
14
                                        Defendant.
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            On November 4, 2020, Plaintiff Marler filed “Plaintiffs’ Statement in Response to First
17
     Scheduling Order” in Wade K. Marler, DDS v. Aspen American Insurance Company, Case No.
18
     2:20-cv-00616-BJR. Plaintiff Marler filed the Statement in connection with the Court’s
19

20   upcoming November 9, 2020 Case Management Conference, and in response to the Court’s First

21   Scheduling Order entered in the above-referenced case on September 29, 2020. A copy of the

22   Statement is attached hereto.
23          Plaintiff Kara McCulloch DMD MSD PLLC joins in the Plaintiffs’ Statement in
24
     Response to First Scheduling Order, submitted herewith.
25

26

     NOTICE OF FILING OF PLAINTIFFS’ STATEMENT IN                     K E L L E R R O H R B AC K    L.L.P.
                                                                          1201 Third A venue, Suite 3200
     RESPONSE TO FIRST SCHEDULING ORDER                                      Seattle, W A 98101-3052
     (2:20-cv-00809-BJR) - 1                                               TELEPHONE: (206) 623-1900
                                                                            FACSIM ILE: (206 ) 623-3384
             Case 2:20-cv-00809-BJR Document 35 Filed 11/04/20 Page 2 of 2




 1          DATED this 4th day of November, 2020.
 2    StandardSig                            KELLER ROHRBACK L.L.P.
 3

 4                                           By: s/ Amy Williams-Derry
                                             By: s/ Lynn L. Sarko
 5
                                             By: s/ Gretchen Freeman Cappio
 6                                           By: s/ Ian S. Birk
                                             By: s/ Irene M. Hecht
 7                                           By: s/Maureen Falecki
                                             By: /sNathan Nanfelt
 8                                              Amy Williams-Derry, WSBA #28711
                                                Lynn Lincoln Sarko, WSBA #16569
 9
                                                Gretchen Freeman Cappio, WSBA #29576
10                                              Ian S. Birk, WSBA #31431
                                                Irene M. Hecht, WSBA #11063
11                                              Maureen M. Falecki, WSBA #18569
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23                                                  Attorneys for Plaintiff and the Proposed
                                                    Classes
24

25

26

     NOTICE OF FILING OF PLAINTIFFS’ STATEMENT IN                  K E L L E R R O H R B AC K    L.L.P.
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                                                                         FACSIM ILE: (206 ) 623-3384
